                  Case 21-50335-wlh                         Doc 1              Filed 01/14/21 Entered 01/14/21 09:53:10                               Desc Main
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 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

                Northern District of Georgia

 Case number (If known):                                Chapter you are filing under:
                                                        ✔
                                                        ❑       Chapter 7
                                                        ❑       Chapter 11
                                                        ❑       Chapter 12
                                                        ❑       Chapter 13
                                                                                                                                                 ❑Check if this is an
                                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Alicia
       government-issued picture                   First name                                                       First name
       identification (for example, your
                                                   Jo
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to        Reider
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
                                                   Alicia
       in the last 8 years                         First name                                                       First name
       Include your married or maiden              J.
       names.                                      Middle name                                                      Middle name
                                                   Reider
                                                   Last name                                                        Last name




                                                   First name                                                       First name


                                                   Middle name                                                      Middle name


                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 7        7       6   4                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Alicia              Jo                           Reider                                            Case number (if known)
                     First Name          Middle Name                  Last Name


                                          About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification
                                          ✔I have not used any business names or EINs.
                                          ❑                                                                  ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years
                                          Business name                                                      Business name
       Include trade names and doing
       business as names
                                          Business name                                                      Business name


                                                       -                                                                  -
                                          EIN                                                                EIN


                                                       -                                                                  -
                                          EIN                                                                EIN




                                                                                                             If Debtor 2 lives at a different address:
  5.   Where you live
                                          704 Victoria Court
                                          Number             Street                                          Number            Street




                                          Woodstock, GA 30189
                                          City                                      State      ZIP Code      City                                      State      ZIP Code

                                          Cherokee
                                          County                                                             County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from yours, fill it
                                          it in here. Note that the court will send any notices to you at in here. Note that the court will send any notices to you at this
                                          this mailing address.                                           mailing address.


                                          Number             Street                                          Number            Street



                                          P.O. Box                                                           P.O. Box



                                          City                                      State      ZIP Code      City                                      State      ZIP Code




  6.   Why you are choosing this          Check one:                                                         Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I have
                                          ❑                                                                  ❑ Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.          lived in this district longer than in any other district.

                                          ❑ I have another reason. Explain.                                  ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                             (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 2
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 Debtor 1           Alicia               Jo                        Reider                                               Case number (if known)
                    First Name           Middle Name               Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy     Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Code you are choosing to file     (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                             ✔
                                         ❑      Chapter 7
                                         ❑      Chapter 11
                                         ❑      Chapter 12
                                         ❑      Chapter 13



  8.   How you will pay the fee          ✔ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                         ❑
                                              about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                              order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                              a pre-printed address.

                                         ❑ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                              The Filing Fee in Installments (Official Form 103A).

                                         ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                              but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                              that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                              out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




  9.   Have you filed for bankruptcy     ✔ No.
                                         ❑
       within the last 8 years?
                                         ❑Yes. District                                               When                          Case number
                                                                                                             MM / DD / YYYY

                                                   District                                           When                          Case number
                                                                                                             MM / DD / YYYY

                                                   District                                           When                          Case number
                                                                                                             MM / DD / YYYY




  10. Are any bankruptcy cases           ✔ No.
                                         ❑
       pending or being filed by a
       spouse who is not filing this     ❑Yes. Debtor                                                                            Relationship to you
       case with you, or by a business
       partner, or by an affiliate?                District                                       When                           Case number, if known
                                                                                                         MM / DD / YYYY


                                                   Debtor                                                                        Relationship to you

                                                   District                                       When                           Case number, if known
                                                                                                         MM / DD / YYYY




  11. Do you rent your residence?        ❑ No. Go to line 12.
                                         ✔ Yes. Has your landlord obtained an eviction judgment against you?
                                         ❑
                                                ✔ No. Go to line 12.
                                                ❑
                                                ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                         of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 3
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 Debtor 1             Alicia                  Jo                      Reider                                             Case number (if known)
                      First Name              Middle Name              Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of any        ✔ No. Go to Part 4.
                                              ❑
      full- or part-time business?
                                              ❑ Yes. Name and location of business
      A sole proprietorship is a business
      you operate as an individual, and is
      not a separate legal entity such as          Name of business, if any
      a corporation, partnership, or LLC.

      If you have more than one sole               Number         Street
      proprietorship, use a separate
      sheet and attach it to this petition.


                                                   City                                                     State         ZIP Code

                                                   Check the appropriate box to describe your business:

                                                   ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                   ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                   ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                   ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                   ❑ None of the above

  13. Are you filing under Chapter 11         If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to proceed
      of the Bankruptcy Code, and             under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or you are
      are you a small business debtor         choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations, cash-flow
      or a debtor as defined by 11            statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      U.S. C. § 1182(1)?
                                              ✔ No.
                                              ❑             I am not filing under Chapter 11.
      For a definition of small business
      debtor, see 11 U.S.C. § 101(51D).       ❑ No.         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                            Bankruptcy Code.

                                              ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                            Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                              ❑ Yes.        I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code,
                                                            and I choose to proceed under Subchapter V of Chapter 11.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any                  ✔ No.
                                              ❑
      property that poses or is
      alleged to pose a threat of             ❑ Yes.      What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                          If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that
      needs urgent repairs?                               Where is the property?
                                                                                   Number          Street




                                                                                     City                                                State               ZIP Code




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 Debtor 1            Alicia               Jo                         Reider                                            Case number (if known)
                     First Name            Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                You must check one:
                                          ✔ I received a briefing from an approved credit counseling
      receive a briefing about credit
      counseling before you file for      ❑                                                                  ❑ I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 days before I filed this bankruptcy          agency within the 180 days before I filed this bankruptcy
      check one of the following               petition, and I received a certificate of completion.              petition, and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if          Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                           any, that you developed with the agency.

      If you file anyway, the court can   ❑ I received a briefing from an approved credit counseling         ❑ I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy          agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.           petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you        Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if           MUST file a copy of the certificate and payment plan, if
                                               any.                                                               any.

                                          ❑ I certify that I asked for credit counseling services from an    ❑ I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services           approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent             during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the               circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                       requirement.
                                               To ask for a 30-day temporary waiver of the requirement,           To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made           attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it           to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                  before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                      circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied            Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you          with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                              filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still        If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                  receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,              You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if            along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.              any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for           Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                      cause and is limited to a maximum of 15 days.

                                          ❑ I am not required to receive a briefing about credit             ❑ I am not required to receive a briefing about credit
                                               counseling because of:                                             counseling because of:
                                               ❑ Incapacity. I have a mental illness or a mental                  ❑ Incapacity. I have a mental illness or a mental
                                                                  deficiency that makes me incapable                                deficiency that makes me incapable
                                                                  of realizing or making rational                                   of realizing or making rational
                                                                  decisions about finances.                                         decisions about finances.
                                               ❑ Disability.      My physical disability causes me to             ❑ Disability.     My physical disability causes me to
                                                                  be unable to participate in a briefing                            be unable to participate in a briefing
                                                                  in person, by phone, or through the                               in person, by phone, or through the
                                                                  internet, even after I reasonably tried                           internet, even after I reasonably tried
                                                                  to do so.                                                         to do so.
                                               ❑ Active duty. I am currently on active military duty in           ❑ Active duty. I am currently on active military duty in
                                                                  a military combat zone.                                           a military combat zone.

                                               If you believe you are not required to receive a briefing          If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver         about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                               of credit counseling with the court.




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 Debtor 1            Alicia                 Jo                        Reider                                              Case number (if known)
                     First Name             Middle Name               Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
      have?                                        an individual primarily for a personal, family, or household purpose.”
                                                     ❑ No. Go to line 16b.
                                                     ✔ Yes. Go to line 17.
                                                     ❑
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                   business or investment or through the operation of the business or investment.
                                                     ❑ No. Go to line 16c.
                                                     ❑ Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?          ❑     No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any           ✔
                                               ❑     Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded and                     expenses are paid that funds will be available to distribute to unsecured creditors?
      administrative expenses are paid                        ✔ No
                                                              ❑
      that funds will be available for                        ❑ Yes
      distribution to unsecured
      creditors?

  18. How many creditors do you                  ✔ 1-49
                                                 ❑                  ❑ 1,000-5,000              ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                     ❑ 50-99            ❑ 5,001-10,000
                                                 ❑ 100-199          ❑ 10,001-25,000
                                                 ❑ 200-999

  19. How much do you estimate your              ✔ $0-$50,000
                                                 ❑                                     ❑ $1,000,001-$10 million                       ❑ $500,000,001-$1 billion
      assets to be worth?                        ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                      ❑ $1,000,000,001-$10 billion
                                                 ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                     ❑ $10,000,000,001-$50 billion
                                                 ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million                    ❑ More than $50 billion

  20. How much do you estimate your              ❑ $0-$50,000                          ❑ $1,000,001-$10 million                       ❑ $500,000,001-$1 billion
      liabilities to be?                         ✔ $50,001-$100,000
                                                 ❑                                     ❑ $10,000,001-$50 million                      ❑ $1,000,000,001-$10 billion
                                                 ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                     ❑ $10,000,000,001-$50 billion
                                                 ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million                    ❑ More than $50 billion
 Part 7: Sign Below


  For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                  Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                  obtained and read the notice required by 11 U.S.C. § 342(b).
                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                  can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                    ✘ /s/ Alicia Jo Reider
                                         Alicia Jo Reider, Debtor 1
                                         Executed on 01/14/2021
                                                         MM/ DD/ YYYY




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 Debtor 1            Alicia                 Jo                     Reider                                             Case number (if known)
                     First Name             Middle Name             Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Alexander Hait                                                     Date 01/14/2021
                                                                                                                             MM / DD / YYYY
                                                  Signature of Attorney for Debtor



                                                 Alexander Hait
                                                 Printed name

                                                 Hait & Kuhn
                                                 Firm name

                                                 185 Stockwood Dr
                                                 Number      Street



                                                  Woodstock                                                          GA       30188
                                                 City                                                                State    ZIP Code




                                                 Contact phone (770) 517-0045                        Email address




                                                 Bar number                                                          State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
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 Fill in this information to identify your case and this filing:

  Debtor 1                          Alicia                       Jo                         Reider
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                          Northern District of Georgia
                                                                                                                                                                                   ❑ Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ✔ No. Go to Part 2.
      ❑
      ❑ Yes. Where is the property?
                                                                              What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
                                                                             ❑ Single-family home                                                          amount of any secured claims on Schedule D: Creditors

                                                                             ❑ Duplex or multi-unit building
              description                                                                                                                                  Who Have Claims Secured by Property.

                                                                             ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
                                                                             ❑ Land
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such

                                                                             ❑ Other
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
                                                                                                                                                         estate), if known.
              County
                                                                              Who has an interest in the property? Check one.
                                                                             ❑ Debtor 1 only
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ❑ Check if this is community property
                                                                             ❑ At least one of the debtors and another                                        (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜                    $0.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                          page 1
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 Debtor 1                  Alicia                        Jo                               Reider                                                              Case number (if known)
                           First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ❑ No
      ✔ Yes
      ❑
      3.1 Make:                                   Hyundai                   Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the

                                                  Santa Fe
                                                                            ✔ Debtor 1 only
                                                                            ❑                                                                               amount of any secured claims on Schedule D: Creditors

                                                                            ❑ Debtor 2 only
            Model:                                                                                                                                          Who Have Claims Secured by Property.
                                                  Sport
                                                                            ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                            ❑ At least one of the debtors and another
            Year:                                 2013                                                                                                    entire property?             portion you own?
            Approximate mileage:                                                                                                                                         $5,500.00                   $5,500.00
                                                  92000
                                                                            ❑Check if this is community property (see
            Other information:                                                  instructions)




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................                  ➜              $5,500.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                                    Current value of the
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

 6. Household goods and furnishings
      Examples:       Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               Misc Household Goods & Furnishings
                                                                                                                                                                                                       $300.00

 7. Electronics
      Examples:       Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                      electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑
                                               MIsc Household Electronics                                                                                                                              $150.00


 8. Collectibles of value
      Examples:       Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                      stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........

Official Form 106A/B                                                                                    Schedule A/B: Property                                                                      page 2
                       Case 21-50335-wlh                                     Doc 1              Filed 01/14/21 Entered 01/14/21 09:53:10                                                             Desc Main
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 Debtor 1                     Alicia                            Jo                                   Reider                                                                      Case number (if known)
                              First Name                        Middle Name                           Last Name



 9. Equipment for sports and hobbies
       Examples:         Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                         carpentry tools; musical instruments
       ✔ No
       ❑
       ❑ Yes. Describe........

 10.    Firearms
        Examples:          Pistols, rifles, shotguns, ammunition, and related equipment

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                    M&P Bodyguard 380                                                                                                                                                    $200.00



 11.    Clothes
        Examples:          Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                    Misc Womens and Childrens Clothing                                                                                                                                   $100.00



 12.    Jewelry
        Examples:          Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        ✔ No
        ❑
        ❑ Yes. Describe........


 13.    Non-farm animals
        Examples:          Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                    Cat                                                                                                                                                                    $5.00



 14.    Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here........................................................................................................................................➜                                     $755.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                             Current value of the
                                                                                                                                                                                                          portion you own?
                                                                                                                                                                                                          Do not deduct secured
                                                                                                                                                                                                          claims or exemptions.


 16.    Cash
        Examples:          Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ✔ No
        ❑
        ❑ Yes........................................................................................................................................................ Cash..............


Official Form 106A/B                                                                                                 Schedule A/B: Property                                                                           page 3
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 Debtor 1                 Alicia                Jo                       Reider                                            Case number (if known)
                          First Name            Middle Name              Last Name



 17.   Deposits of money
       Examples:        Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                        similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                               Institution name:



       17.1. Checking account:                  Bank of America                                                                       $400.00


       17.2. Checking account:


       17.3. Savings account:


       17.4. Savings account:


       17.5. Certificates of deposit:


       17.6. Other financial account:


       17.7. Other financial account:


       17.8. Other financial account:


       17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
       Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Name of entity:                                                                     % of ownership:




Official Form 106A/B                                                               Schedule A/B: Property                                                    page 4
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                          First Name                  Middle Name         Last Name



 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

       Issuer name:




 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
       Type of account:                     Institution name:

       401(k) or similar plan:


       Pension plan:


       IRA:


       Retirement account:


       Keogh:


       Additional account:


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
                                      Institution name or individual:

       Electric:


       Gas:


       Heating oil:


       Security deposit on rental unit:


       Prepaid rent:




Official Form 106A/B                                                               Schedule A/B: Property                                                  page 5
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 Debtor 1                Alicia                Jo                      Reider                                       Case number (if known)
                          First Name           Middle Name              Last Name



       Telephone:


       Water:


       Rented furniture:


       Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
       Issuer name and description:




 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
       Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:       Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 27.   Licenses, franchises, and other general intangibles
       Examples:       Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                       professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                 Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.




Official Form 106A/B                                                              Schedule A/B: Property                                                  page 6
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 Debtor 1              Alicia                   Jo                      Reider                                               Case number (if known)
                       First Name               Middle Name              Last Name



 28.   Tax refunds owed to you

       ❑ No
       ✔ Yes. Give specific information about
       ❑                                                 2020                                                                     Federal:                              $1,000.00
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:


 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes. Give specific information..........                                                                               Alimony:

                                                                                                                                  Maintenance:

                                                                                                                                Support:

                                                                                                                                  Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else

       ❑ No
       ✔ Yes. Give specific information..........
       ❑                                                 2014 Judgment against Brandon C. Newcomer for $10,500
                                                                                                                                                                        unknown




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ❑ No
       ✔ Yes. Name the insurance company
       ❑                                                   Company name:                                           Beneficiary:                         Surrender or refund value:
                 of each policy and list its value....
                                                           Esurance Auto                                                                                                        $0.00


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes. Give specific information..........



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:     Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes. Describe each claim................




Official Form 106A/B                                                               Schedule A/B: Property                                                              page 7
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                           First Name                      Middle Name                       Last Name



 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim................


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information..........


 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                           $1,400.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........

 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
       Name of entity:                                                                                               % of ownership:


Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 8
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                           First Name                      Middle Name                       Last Name




                                                                                                                                            %


 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........




 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                                $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 9
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                            First Name                       Middle Name                          Last Name



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                                $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                 $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                          $0.00


 56.   Part 2: Total vehicles, line 5                                                                                          $5,500.00


 57.   Part 3: Total personal and household items, line 15                                                                        $755.00


 58.   Part 4: Total financial assets, line 36                                                                                 $1,400.00


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                          $7,655.00            Copy personal property total➜          +        $7,655.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                     $7,655.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                page 10
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 Fill in this information to identify your case:

  Debtor 1                    Alicia               Jo                  Reider
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                         ❑ Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ❑
      ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

                                                                                         ✔
 Brief description:
 2013 Hyundai Santa Fe Sport                                                $5,500.00
                                                                                         ❑              $5,000.00                 Ga. Code Ann. § 44-13-100(a)(3)
                                                                                         ❑ 100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


                                                                                         ✔
 Brief description:
  Misc Household Goods & Furnishings                                          $300.00
                                                                                         ❑               $300.00                  Ga. Code Ann. § 44-13-100(a)(4)
                                                                                         ❑ 100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:           6


 3.   Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                 page 1 of 2
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                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the       Amount of the exemption you claim            Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from        Check only one box for each exemption.
                                                        Schedule A/B

                                                                                   ✔
 Brief description:
 MIsc Household Electronics                                              $150.00
                                                                                   ❑               $150.00                     Ga. Code Ann. § 44-13-100(a)(4)
                                                                                   ❑ 100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         7


                                                                                   ✔
 Brief description:
 M&P Bodyguard 380                                                       $200.00
                                                                                   ❑               $200.00                     Ga. Code Ann. § 44-13-100(a)(6)
                                                                                   ❑ 100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         10


                                                                                   ✔
 Brief description:
 Misc Womens and Childrens Clothing                                      $100.00
                                                                                   ❑               $100.00                     Ga. Code Ann. § 44-13-100(a)(4)
                                                                                   ❑ 100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         11


                                                                                   ✔
 Brief description:
 Cat                                                                       $5.00
                                                                                   ❑                $5.00                      Ga. Code Ann. § 44-13-100(a)(4)
                                                                                   ❑ 100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         13


                                                                                   ✔
 Brief description:
 Bank of America                                                         $400.00
                                                                                   ❑               $400.00                     Ga. Code Ann. § 44-13-100(a)(6)

 Checking account                                                                  ❑ 100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:         17


                                                                                   ✔
 Brief description:
 Federal tax                                                         $1,000.00
                                                                                   ❑              $1,000.00                    Ga. Code Ann. § 44-13-100(a)(6)
                                                                                   ❑ 100% of fair market value, up to
 Line from                                                                             any applicable statutory limit
 Schedule A/B:         28


                                                                                   ✔
 Brief description:
 2014 Judgment against Brandon C. Newcomer for                         unknown
                                                                                   ❑               unknown                     Ga. Code Ann. § 44-13-100(a)(6)

 $10,500                                                                           ❑ 100% of fair market value, up to
                                                                                       any applicable statutory limit
 Line from
 Schedule A/B:         30




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                     page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                       Alicia                  Jo                     Reider
                                 First Name              Middle Name           Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name           Last Name

  United States Bankruptcy Court for the:                               Northern District of Georgia

  Case number                                                                                                                                               ❑ Check if this is an
  (if known)                                                                                                                                                    amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ✔ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ❑
      ❑Yes. Fill in all of the information below.
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for             Column A                Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much            Amount of claim         Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                                 Do not deduct the       that supports         portion
                                                                                                                             value of collateral.    this claim            If any
 2.1                                                          Describe the property that secures the claim:
        Creditor's Name


        Number          Street
                                                              As of the date you file, the claim is: Check all that apply.

        City                      State       ZIP Code        ❑Contingent
        Who owes the debt? Check one.                         ❑Unliquidated
        ❑Debtor 1 only                                        ❑Disputed
        ❑Debtor 2 only                                        Nature of lien. Check all that apply.
        ❑Debtor 1 and Debtor 2 only                           ❑An agreement you made (such as mortgage or
        ❑At least one of the debtors and another                 secured car loan)

        ❑Check if this claim relates to a                     ❑Statutory lien (such as tax lien, mechanic's lien)
           community debt                                     ❑Judgment lien from a lawsuit
        Date debt was incurred                                ❑Other (including a right to offset)
                                                              Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                                                     $0.00




Official Form 106D                                              Schedule D: Creditors Who Have Claims Secured by Property                                                        page 1 of 2
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                         First Name            Middle Name              Last Name


                                                                                                                      Column A                Column B              Column C
                Additional Page
                                                                                                                      Amount of claim         Value of collateral   Unsecured
  Part 1:       After listing any entries on this page, number them beginning with                                    Do not deduct the       that supports         portion
                2.3, followed by 2.4, and so forth.                                                                   value of collateral.    this claim            If any



 2.2                                                   Describe the property that secures the claim:
       Creditor's Name


       Number        Street
                                                       As of the date you file, the claim is: Check all that apply.

       City                       State   ZIP Code     ❑Contingent
       Who owes the debt? Check one.                   ❑Unliquidated
       ❑Debtor 1 only                                  ❑Disputed
       ❑Debtor 2 only                                  Nature of lien. Check all that apply.
       ❑Debtor 1 and Debtor 2 only                     ❑An agreement you made (such as mortgage or
       ❑At least one of the debtors and another           secured car loan)

       ❑Check if this claim relates to a               ❑Statutory lien (such as tax lien, mechanic's lien)
          community debt                               ❑Judgment lien from a lawsuit
       Date debt was incurred                          ❑Other (including a right to offset)
                                                       Last 4 digits of account number




       Add the dollar value of your entries in Column A on this page. Write that number here:                                                $0.00
       If this is the last page of your form, add the dollar value totals from all pages. Write that number                                  $0.00
       here:




Official Form 106D                             Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                   Alicia                Jo                  Reider
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                               ❑ Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                            12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority             Nonpriority
                                                                                                                                  claim       amount               amount

2.1      Georgia Department of Revenue                              Last 4 digits of account number 7764                              $153.26            $153.26            $0.00
        Priority Creditor's Name
                                                                    When was the debt incurred? 2019
         Compliance Division                                        As of the date you file, the claim is: Check all that
         ARCS - Bankruptcy                                          apply.
         1800 Century Blvd Ne # 9100                                ❑ Contingent
        Number           Street                                     ❑ Unliquidated
         Atlanta, GA 30345-3202                                     ❑ Disputed
        City                               State   ZIP Code
                                                                    Type of PRIORITY unsecured claim:
        Who incurred the debt? Check one.                           ❑ Domestic support obligations
        ✔ Debtor 1 only
        ❑                                                           ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ Debtor 2 only                                                 government
        ❑ Debtor 1 and Debtor 2 only                                ❑ Claims for death or personal injury while you were
        ❑ At least one of the debtors and another                       intoxicated
        ❑ Check if this claim is for a community debt               ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




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 Debtor 1              Alicia             Jo                     Reider                                                 Case number (if known)
                       First Name         Middle Name             Last Name

 Part 1: Your PRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                       Total       Priority           Nonpriority
                                                                                                                               claim       amount             amount

2.2     Internal Revenue Service                                                                                                       $0.00          $0.00             $0.00
                                                                Last 4 digits of account number
       Priority Creditor's Name
                                                                When was the debt incurred?
        Centralized Insolvency Operation
                                                                As of the date you file, the claim is: Check all that
        Po Box 7346                                             apply.
                                                                ❑ Contingent
       Number           Street
        Philadelphia, PA 19101-7346
       City                           State    ZIP Code         ❑ Unliquidated
       Who incurred the debt? Check one.                        ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                        Type of PRIORITY unsecured claim:
       ❑ Debtor 2 only                                          ❑ Domestic support obligations
       ❑ Debtor 1 and Debtor 2 only                             ✔ Taxes and certain other debts you owe the
                                                                ❑
       ❑ At least one of the debtors and another
                                                                    government
                                                                ❑ Claims for death or personal injury while you were
       ❑ Check if this claim is for a community debt                intoxicated
       Is the claim subject to offset?                          ❑ Other. Specify
       ✔ No
       ❑
       ❑ Yes
        Remarks: NOTICE ONLY




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 Debtor 1              Alicia                Jo                        Reider                                              Case number (if known)
                       First Name             Middle Name               Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔ Yes.
      ❑
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Aldridge Pite Haan, LLP                                                                                                                                            $0.00
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                 When was the debt incurred?
        PO Box 52815
        Number          Street                                                   As of the date you file, the claim is: Check all that apply.
        Atlanta, GA 30305                                                        ❑ Contingent
        City                             State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                        ❑ Disputed
        ✔ Debtor 1 only
        ❑                                                                         Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑ At least one of the debtors and another                                     divorce that you did not report as priority claims
        ❑ Check if this claim is for a community debt                             ❑ Debts to pension or profit-sharing plans, and other
                                                                                      similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑
        ❑ Yes
        Remarks: NOTICE ONLY
4.2     Syncb/Suzuki Installment                                                  Last 4 digits of account number 6810                                                $7,802.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?          05/01/2018
        Attn: Bankruptcy
                                                                                 As of the date you file, the claim is: Check all that apply.
        PO Box 530912                                                            ❑ Contingent
                                                                                 ❑ Unliquidated
        Number          Street

                                                                                 ❑ Disputed
        Atlanta, GA 30353-0912
        City                             State     ZIP Code
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                                                         ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only
                                                                                      divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ❑ Other. Specify
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




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 Debtor 1              Alicia             Jo                     Reider                                             Case number (if known)
                       First Name         Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.2     Atlanta Gastroenterology Associates                                                                                                             unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 537019
       Number           Street                                             As of the date you file, the claim is: Check all that apply.
        Atlanta, GA 30353                                                  ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?
                                                                           ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Medical Bill
       ❑ Yes
4.3     Bank of America                                                    Last 4 digits of account number 0446                                        $12,615.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          05/01/2016
        Po Box 982238
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        El Paso, TX 79998
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes
4.3     Wells Fargo Dealer Services                                        Last 4 digits of account number 3715                                         $9,369.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          06/01/2016
        Po Box 1697
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Winterville, NC 28590
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ❑ Other. Specify
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1              Alicia             Jo                     Reider                                             Case number (if known)
                       First Name         Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.4     BB&T                                                               Last 4 digits of account number 0702                                         $8,679.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          05/01/2017
        Credit Card Disputes
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilson, NC 27894
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       InstallmentSalesContract
       ❑ Yes
4.5     Chase Card Services                                                Last 4 digits of account number 5261                                                $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          04/01/2014
        Po Box 15298
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Wilmington, DE 19850
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes
4.6     Citibank/The Home Depot                                            Last 4 digits of account number 1374                                         $1,970.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          01/01/2015
        Po Box 6497
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sioux Falls, SD 57117
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       ChargeAccount
       ❑ Yes




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 Debtor 1              Alicia             Jo                     Reider                                             Case number (if known)
                       First Name         Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.7     Comenity Bank/Victoria Secret                                      Last 4 digits of account number 9776                                                $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          06/16/2003
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        POB 182125
       Number           Street
                                                                           ❑ Contingent
        Columbus, OH 43218
                                                                           ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         ChargeAccount
       ✔ No
       ❑
       ❑ Yes
4.8     Concord Svc                                                        Last 4 digits of account number 2554                                                $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          08/21/2010
        6701 W Hwy 89a
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Sedona, AZ 86336
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       TimeSharedLoan
       ❑ Yes
4.9     Credit First National Association                                  Last 4 digits of account number 7015                                                $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          05/01/2018
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 81315
       Number           Street
                                                                           ❑ Contingent
        Cleveland, OH 44181-0315
                                                                           ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         ChargeAccount
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1              Alicia             Jo                     Reider                                             Case number (if known)
                       First Name         Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.10    Equiant/Thousand Trails                                            Last 4 digits of account number 2554                                                $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          09/01/2010
        Attn: Bankruptcy Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        400 N Juniper Dr , STE 100
       Number           Street
                                                                           ❑ Contingent
        Chandler, AZ 85226
                                                                           ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 1 only                                                     ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims

       ✔ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
       ❑                                                                       similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         TimeSharedLoan
       ✔ No
       ❑
       ❑ Yes
4.11    Frost Arnett                                                                                                                                    unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Po Box 198988
       Number           Street                                             As of the date you file, the claim is: Check all that apply.
        Nashville, TN 37219                                                ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?
                                                                           ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Medical Bill
       ❑ Yes
4.12    Harley Davidson Financial                                          Last 4 digits of account number 7944                                        $21,948.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          05/01/2017
        Po Box 21829
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Carson City, NV 89721
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ❑ Debtor 1 only                                                     Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ✔ At least one of the debtors and another
       ❑                                                                       divorce that you did not report as priority claims
                                                                           ✔ Debts to pension or profit-sharing plans, and other
                                                                           ❑
       ❑ Check if this claim is for a community debt                           similar debts
       Is the claim subject to offset?                                     ❑ Other. Specify
       ✔ No
       ❑
       ❑ Yes




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 Debtor 1              Alicia             Jo                     Reider                                             Case number (if known)
                       First Name         Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.13    Kohls/Capital One                                                  Last 4 digits of account number 5133                                                $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          07/01/2010
        N56 W 17000 Ridgewood Dr
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Menomonee Falls, WI 53051
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       ChargeAccount
       ❑ Yes
4.14    Laureate Medical Group at Northside                                                                                                             unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        Bld 600/Embassy Row
                                                                           As of the date you file, the claim is: Check all that apply.
        6600 Peachtree Dunwoody Rd Ste 325
       Number           Street                                             ❑ Contingent
        Atlanta, GA 30328                                                  ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
       ❑ At least one of the debtors and another                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ Check if this claim is for a community debt
                                                                               similar debts
                                                                           ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         Medical Bill
       ✔ No
       ❑
       ❑ Yes
4.15    Midland Fund                                                       Last 4 digits of account number 8780                                         $3,134.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          09/01/2019
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        350 Camino De La Reine Ste 100
       Number           Street
                                                                           ❑ Contingent
        San Diego, CA 92108
                                                                           ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         FactoringCompanyAccount
       ✔ No
       ❑
       ❑ Yes




Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 8 of 12
                Case 21-50335-wlh                 Doc 1       Filed 01/14/21 Entered 01/14/21 09:53:10                                    Desc Main
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 Debtor 1              Alicia             Jo                     Reider                                             Case number (if known)
                       First Name         Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.16    Midland Fund                                                       Last 4 digits of account number 3551                                         $2,484.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          06/01/2019
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        350 Camino De La Reine Ste 100
       Number           Street
                                                                           ❑ Contingent
        San Diego, CA 92108
                                                                           ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         FactoringCompanyAccount
       ✔ No
       ❑
       ❑ Yes
4.17    Northside Radiology                                                                                                                             unknown
                                                                           Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?
        PO Box 102263
       Number           Street                                             As of the date you file, the claim is: Check all that apply.
        Atlanta, GA 30368                                                  ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims
       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?
                                                                           ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       Medical Bill
       ❑ Yes
4.18    Portfolio Recovery                                                 Last 4 digits of account number 1548                                         $3,716.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          01/01/2019
        120 Corporate Blvd Ste 1
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Norfolk, VA 23502
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       FactoringCompanyAccount
       ❑ Yes




Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 9 of 12
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 Debtor 1              Alicia             Jo                     Reider                                             Case number (if known)
                       First Name         Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.19    Syncb/HH Gregg                                                     Last 4 digits of account number 0119                                             $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          12/01/2007
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                           ❑ Contingent
        Orlando, FL 32896-5060
                                                                           ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         ChargeAccount
       ✔ No
       ❑
       ❑ Yes
4.20    Synchrony Bank/ Old Navy                                           Last 4 digits of account number 2024                                             $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          05/09/2014
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                           ❑ Contingent
        Orlando, FL 32896
                                                                           ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         ChargeAccount
       ✔ No
       ❑
       ❑ Yes
4.21    Synchrony Bank/ Old Navy                                           Last 4 digits of account number 8391                                             $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          05/01/2009
        Attn: Bankruptcy
                                                                           As of the date you file, the claim is: Check all that apply.
        PO Box 965060
       Number           Street
                                                                           ❑ Contingent
        Orlando, FL 32896
                                                                           ❑ Unliquidated
       City                           State    ZIP Code                    ❑ Disputed
       Who incurred the debt? Check one.                                   Type of NONPRIORITY unsecured claim:
       ✔ Debtor 1 only
       ❑                                                                   ❑ Student loans
       ❑ Debtor 2 only                                                     ❑ Obligations arising out of a separation agreement or
       ❑ Debtor 1 and Debtor 2 only                                            divorce that you did not report as priority claims
                                                                           ❑ Debts to pension or profit-sharing plans, and other
       ❑ At least one of the debtors and another                               similar debts
       ❑ Check if this claim is for a community debt                       ✔ Other. Specify
                                                                           ❑
       Is the claim subject to offset?                                         UnknownLoanType
       ✔ No
       ❑
       ❑ Yes


Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page 10 of 12
                 Case 21-50335-wlh                Doc 1       Filed 01/14/21 Entered 01/14/21 09:53:10                                    Desc Main
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 Debtor 1              Alicia             Jo                     Reider                                             Case number (if known)
                       First Name         Middle Name             Last Name

 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                      Total claim


4.22    Synchrony Bank/Amazon                                              Last 4 digits of account number 3438                                             $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          03/30/2014
        Po Box 965015
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       ChargeAccount
       ❑ Yes
4.23    Synchrony Bank/Walmart                                             Last 4 digits of account number 1298                                             $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          11/01/2006
        Po Box 965024
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Orlando, FL 32896
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       ChargeAccount
       ❑ Yes
4.24    Target                                                             Last 4 digits of account number 5433                                             $0.00
       Nonpriority Creditor's Name
                                                                           When was the debt incurred?          06/16/2007
        700 Target Parkway N
                                                                           As of the date you file, the claim is: Check all that apply.
       Number           Street
        Minneapolis, MN 55445
                                                                           ❑ Contingent
       City                           State    ZIP Code                    ❑ Unliquidated
       Who incurred the debt? Check one.                                   ❑ Disputed
       ✔ Debtor 1 only
       ❑                                                                   Type of NONPRIORITY unsecured claim:
       ❑ Debtor 2 only                                                     ❑ Student loans
       ❑ Debtor 1 and Debtor 2 only                                        ❑ Obligations arising out of a separation agreement or
       ❑ At least one of the debtors and another                               divorce that you did not report as priority claims

       ❑ Check if this claim is for a community debt                       ❑ Debts to pension or profit-sharing plans, and other
                                                                               similar debts
       Is the claim subject to offset?                                     ✔ Other. Specify
                                                                           ❑
       ✔ No
       ❑                                                                       CreditCard
       ❑ Yes




Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                             page 11 of 12
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 Debtor 1              Alicia               Jo                     Reider                                      Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                             $153.26
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                              $153.26




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                          $21,948.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                     $49,769.00
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                           $71,717.00




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 12 of 12
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 Fill in this information to identify your case:

     Debtor 1                   Alicia               Jo                  Reider
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Northern District of Georgia

     Case number                                                                                                                             ❑ Check if this is an
     (if known)                                                                                                                                    amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1
                      Case 21-50335-wlh                        Doc 1       Filed 01/14/21 Entered 01/14/21 09:53:10                               Desc Main
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 Fill in this information to identify your case:

  Debtor 1                        Alicia                  Jo                 Reider
                                 First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                              Northern District of Georgia

  Case number                                                                                                                               ❑ Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                              12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ✔ No
      ❑
      ❑Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ✔No. Go to line 3.
      ❑
      ❑Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        ❑No
        ❑Yes. In which community state or territory did you live?                                       . Fill in the name and current address of that person.


               Name

               Number          Street

               City                                   State     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt
                                                                                                                Check all schedules that apply:
3.1                                                                                                             ❑Schedule D, line
      Name
                                                                                                                ❑Schedule E/F, line
      Number          Street                                                                                    ❑Schedule G, line
      City                                    State     ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                                         page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                   Alicia                Jo                  Reider
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name                                                  Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Georgia                                    ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                           Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status                     ✔ Not Employed
                                                                           ❑Employed ❑                                         ❑Employed ❑Not Employed
     attach a separate page with
     information about additional              Occupation
     employers.
                                               Employer's name
     Include part time, seasonal, or
     self-employed work.
                                               Employer's address
     Occupation may include student                                         Number Street                                      Number Street
     or homemaker, if it applies.




                                                                            City                     State   Zip Code          City                    State      Zip Code

                                               How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.                 $0.00                        $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +             $0.00       +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.                 $0.00                        $0.00




Official Form 106I                                                           Schedule I: Your Income                                                                   page 1
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 Debtor 1                  Alicia                          Jo                                  Reider                                          Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.                 $0.00                    $0.00
 5.   List all payroll deductions:
      5a. Tax, Medicare, and Social Security deductions                                                                5a.                $0.00                    $0.00
      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00
      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00
      5d. Required repayments of retirement fund loans                                                                 5d.                $0.00                    $0.00
      5e. Insurance                                                                                                    5e.                $0.00                    $0.00
      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00
      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

      5h. Other deductions. Specify:                                                                                   5h.   +             $0.00       +           $0.00

 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.                 $0.00                    $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.                 $0.00                    $0.00
 8.   List all other income regularly received:
      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.                                8a.                $0.00                    $0.00
      8b. Interest and dividends                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.             $1,325.00                   $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                                                   8f.                $0.00                    $0.00
      8g. Pension or retirement income                                                                                 8g.                $0.00                    $0.00

      8h. Other monthly income. Specify: Disability Income                                                             8h.   +          $512.67        +           $0.00


 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $1,837.67                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $1,837.67   +                $0.00        =       $1,837.67

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +             $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $1,837.67
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ✔ No.
      ❑
      ❑Yes. Explain:

Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
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 Fill in this information to identify your case:

  Debtor 1                   Alicia                   Jo                     Reider
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                            Northern District of Georgia

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                  Child                               8                         ✔Yes.
                                                                                                                                                   ❑No. ❑
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
                                                                                                                                                   ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                        $300.00


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                         $0.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
                    Case 21-50335-wlh                 Doc 1        Filed 01/14/21 Entered 01/14/21 09:53:10                      Desc Main
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 Debtor 1              Alicia                 Jo                       Reider                                Case number (if known)
                       First Name             Middle Name               Last Name


                                                                                                                             Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                          $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                       $150.00

       6b. Water, sewer, garbage collection                                                                        6b.                        $30.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                       $128.00

       6d. Other. Specify:                                                                                         6d.                         $0.00

 7.    Food and housekeeping supplies                                                                              7.                        $650.00

 8.    Childcare and children’s education costs                                                                    8.                         $15.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                         $30.00

 10. Personal care products and services                                                                           10.                        $50.00

 11.   Medical and dental expenses                                                                                 11.                        $20.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                       $325.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                         $0.00

 14. Charitable contributions and religious donations                                                              14.                         $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                        $0.00
       15a. Life insurance
                                                                                                                   15b.                        $0.00
       15b. Health insurance
       15c. Vehicle insurance                                                                                      15c.                      $130.00

       15d. Other insurance. Specify:                                                                              15d.                        $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                         $0.00

 17. Installment or lease payments:
                                                                                                                   17a.                        $0.00
       17a. Car payments for Vehicle 1
                                                                                                                   17b.                        $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                        $0.00
       17c. Other. Specify:
                                                                                                                   17d.                        $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                         $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                         $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                        $0.00
       20b. Real estate taxes                                                                                      20b.                        $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                        $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                        $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                        $0.00




Official Form 106J                                                              Schedule J: Your Expenses                                              page 2
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 Debtor 1              Alicia               Jo                      Reider                                  Case number (if known)
                       First Name           Middle Name              Last Name



 21. Other. Specify:                                                                                              21.     +               $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                $1,828.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                   $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                $1,828.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.               $1,837.67

      23b. Copy your monthly expenses from line 22c above.                                                        23b.    –           $1,828.00

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                  23c.                   $9.67
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑Yes.




Official Form 106J                                                             Schedule J: Your Expenses                                          page 3
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                                                                                      Document Page 41 of 67
 Fill in this information to identify your case:

  Debtor 1                         Alicia                        Jo                          Reider
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                           Northern District of Georgia

  Case number                                                                                                                                                                       ❑ Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                              $0.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $7,655.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                          $7,655.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                                      $0.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                                 $153.26
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +                 $71,717.00


                                                                                                                                                                  Your total liabilities                       $71,870.26

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                     $1,837.67


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                   $1,828.00




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                               page 1 of 2
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 Debtor 1             Alicia                Jo                        Reider                                               Case number (if known)
                      First Name             Middle Name              Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                                      $512.67




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                      Total claim

      From Part 4 on Schedule E/F, copy the following:


     9a. Domestic support obligations (Copy line 6a.)                                                                                    $0.00



     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                         $153.26



     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                                 $0.00



     9d. Student loans. (Copy line 6f.)                                                                                                  $0.00



     9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                                 $0.00
        claims. (Copy line 6g.)



     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                       +                 $21,948.00



     9g. Total. Add lines 9a through 9f.                                                                                            $22,101.26




Official Form 106Sum                                    Summary of Your Assets and Liabilities and Certain Statistical Information                            page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                   Alicia                Jo                  Reider
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                           ❑ Check if this is an
  (if known)                                                                                                                                 amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                 12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                               . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                        (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ Alicia Jo Reider
        Alicia Jo Reider, Debtor 1


        Date 01/14/2021
                MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 21-50335-wlh                     Doc 1      Filed 01/14/21 Entered 01/14/21 09:53:10                              Desc Main
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 Fill in this information to identify your case:

  Debtor 1                   Alicia                Jo                  Reider
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                            Dates Debtor 2 lived
                                                              there                                                                           there


                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number     Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




                                                                                       ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                            From                                                                            From
    Number      Street                                                                     Number     Street
                                                            To                                                                              To



    City                               State ZIP Code                                      City                       State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 1
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Debtor 1            Alicia               Jo                       Reider                                              Case number (if known)
                    First Name           Middle Name              Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
    date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                   ❑Operating a business                                       ❑Operating a business

    For last calendar year:                        ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2020         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business

    For the calendar year before that:             ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2019         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ❑Operating a business                                       ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the        Disability                                    $136.50
    date you filed for bankruptcy:                  Social Securty                              $1,325.00




    For last calendar year:                         Disability                                $10,802.50
    (January 1 to December 31, 2020         )       Social Security                             $5,300.00
                                     YYYY




    For the calendar year before that:              Disability                                $16,380.00
    (January 1 to December 31, 2019         )
                                     YYYY




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
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Debtor 1            Alicia                    Jo                        Reider                                            Case number (if known)
                    First Name                    Middle Name              Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                             payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔Yes.
    ❑          Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                             payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                             this bankruptcy case.

                                                                   Dates of              Total amount paid        Amount you still owe         Was this payment for…
                                                                   payment

                                                                                                                                             ❑Mortgage
             Creditor's Name                                                                                                                 ❑Car
                                                                                                                                             ❑Credit card
             Number          Street                                                                                                          ❑Loan repayment
                                                                                                                                             ❑Suppliers or vendors
                                                                                                                                             ❑Other
             City                         State      ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.
                                                                Dates of               Total amount paid   Amount you still owe      Reason for this payment
                                                                payment



    Insider's Name


    Number      Street




    City                          State      ZIP Code




Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 3
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Debtor 1            Alicia                 Jo                      Reider                                               Case number (if known)
                    First Name             Middle Name               Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                    Nature of the case                           Court or agency                                  Status of the case

    Case title       Crown Asset Management                                                     Cherokee County Magistrate Court                 ✔Pending
                                                                                                                                                 ❑
                     LLC Assignee of Comenity
                                                                                                                                                 ❑On appeal
                                                                                               Court Name
                     Bank v. Alicia J. Reider
                                                                                                                                                 ❑Concluded
                                                                                                90 North Street
    Case number 20MCE3679                                                                      Number       Street
                                                                                                Canton, GA 30114
                                                                                               City                       State      ZIP Code


    Case title       Midland Credit                                                             Cherokee County Magistrate Court                 ✔Pending
                                                                                                                                                 ❑
                     Management Inc as
                                                                                                                                                 ❑On appeal
                                                                                               Court Name
                     Assignee of Synchrony
                                                                                                                                                 ❑Concluded
                     Bank                                                                       90 North Street
                                                                                               Number       Street
    Case number 20MCE3018                                                                       Canton, GA 30114
                                                                                               City                       State      ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔No. Go to line 11.
    ❑
    ❑Yes. Fill in the information below.




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Debtor 1            Alicia                Jo                       Reider                                          Case number (if known)
                    First Name            Middle Name              Last Name

                                                                    Describe the property                                    Date            Value of the property



    Creditor’s Name


    Number      Street                                              Explain what happened

                                                                   ❑Property was repossessed.
                                                                   ❑Property was foreclosed.
                                                                   ❑Property was garnished.
    City                          State    ZIP Code                ❑Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State    ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1             Alicia                   Jo                      Reider                                          Case number (if known)
                     First Name               Middle Name             Last Name

     Gifts with a total value of more than $600 per           Describe the gifts                                          Dates you gave       Value
     person                                                                                                               the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                              State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that        Describe what you contributed                                   Date you              Value
     total more than $600                                                                                            contributed



    Charity’s Name




    Number      Street



    City                      State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and            Describe any insurance coverage for the loss                     Date of your loss      Value of property lost
     how the loss occurred                         Include the amount that insurance has paid. List pending
                                                   insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1            Alicia               Jo                      Reider                                         Case number (if known)
                    First Name            Middle Name            Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                 Description and value of any property transferred             Date payment or      Amount of payment
     Hait & Kuhn                                                                                               transfer was made
    Person Who Was Paid                         Attorney’s Fee
                                                                                                              09/11/2020                        $1,000.00
     185 Stockwood Dr
    Number     Street




    Woodstock, GA 30188
    City                     State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You


                                                 Description and value of any property transferred             Date payment or      Amount of payment
     CC Advising, Inc.                                                                                         transfer was made
    Person Who Was Paid                         Credit Counseling Course
                                                                                                              08/03/2020                           $10.00
     703 Washington Ave Ste 200
    Number     Street




     Bay City, MI 48708-5769
    City                     State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Description and value of any property transferred             Date payment or      Amount of payment
                                                                                                               transfer was made
    Person Who Was Paid



    Number     Street




    City                     State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 7
                Case 21-50335-wlh                  Doc 1       Filed 01/14/21 Entered 01/14/21 09:53:10                                 Desc Main
                                                               Document Page 51 of 67
Debtor 1            Alicia               Jo                     Reider                                            Case number (if known)
                    First Name            Middle Name           Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                                 Description and value of property          Describe any property or payments received       Date transfer was
                                                 transferred                                or debts paid in exchange                        made
     Unknow, Unknown                            Vacant Land in High Knob, West            Vacant Land in High Knob, West
    Person Who Received Transfer                Virginia/Property of Debtor's             Virginia/Property of Debtor's Mother/Unknown 2018
                                                Mother/Unknown To Debtor Property Was     To Debtor Property Was Also Put In Debtor's
                                                Also Put In Debtor's Name By Debtor's     Name By Debtor's Mother/Debtor's Mother Sold
    Number     Street                           Mother/Debtor's Mother Sold The Property The Property In 2018/Debtor Received No
                                                In 2018/Debtor Received No Funds/Benefits Funds/Benefits From The Sale
     High Knob, WV                              From The Sale
    City                     State   ZIP Code


    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Description and value of the property transferred                                            Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




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Debtor 1            Alicia                Jo                    Reider                                           Case number (if known)
                    First Name            Middle Name           Last Name

                                                 Last 4 digits of account number          Type of account or      Date account was           Last balance
                                                                                          instrument              closed, sold, moved, or    before closing or
                                                                                                                  transferred                transfer

    Name of Financial Institution
                                                 XXXX–                                    ❑Checking
                                                                                          ❑Savings
    Number      Street
                                                                                          ❑Money market
                                                                                          ❑Brokerage
                                                                                          ❑Other
    City                     State   ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Who else had access to it?                     Describe the contents                       Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑No
    Name of Financial Institution                Name
                                                                                                                                            ❑Yes

    Number      Street                           Number     Street



                                                 City                 State    ZIP Code

    City                     State   ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                  Who else has or had access to it?              Describe the contents                       Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑No
    Name of Storage Facility                     Name
                                                                                                                                            ❑Yes

    Number      Street                           Number     Street



                                                 City                 State    ZIP Code

    City                     State   ZIP Code




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 9
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Debtor 1            Alicia                Jo                       Reider                                                Case number (if known)
                    First Name            Middle Name               Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                     State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                     State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 10
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Debtor 1             Alicia                 Jo                        Reider                                               Case number (if known)
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                    Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                      State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                   Status of the case


    Case title
                                                    Court Name
                                                                                                                                                    ❑Pending
                                                                                                                                                    ❑On appeal
                                                                                                                                                    ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔No. None of the above applies. Go to Part 12.
    ❑
    ❑Yes. Check all that apply above and fill in the details below for each business.
                                                      Describe the nature of the business                          Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
    Name
                                                                                                                    EIN:          –

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From                 To

    City                      State   ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 11
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Debtor 1            Alicia                Jo                          Reider                                    Case number (if known)
                    First Name             Middle Name                Last Name



 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
 or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                      Date issued



    Name                                             MM / DD / YYYY



    Number        Street




    City                     State   ZIP Code




 Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Alicia Jo Reider
           Signature of Alicia Jo Reider, Debtor 1


           Date 01/14/2021




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑Yes
  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                       Attach the Bankruptcy Petition Preparer’s Notice,
    ❑Yes. Name of person                                                                               Declaration, and Signature (Official Form 119).
                  Case 21-50335-wlh                     Doc 1     Filed 01/14/21 Entered 01/14/21 09:53:10                                Desc Main
                                                                  Document Page 56 of 67
 Fill in this information to identify your case:

  Debtor 1                   Alicia                Jo                  Reider
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                                          ❑ Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral              What do you intend to do with the property that secures a Did you claim the property as
                                                                            debt?                                                     exempt on Schedule C?




Official Form 108                                        Statement of Intention for Individuals Filing Under Chapter 7                                              page 1
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 Debtor 1            Alicia               Jo                      Reider                                          Case number (if known)
                     First Name           Middle Name             Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



  ✘ /s/ Alicia Jo Reider
      Signature of Debtor 1


      Date 01/14/2021
             MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
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B2030 (Form 2030)(12/15)


                                                    United States Bankruptcy Court
                                                                   Northern District of Georgia

In re
Reider, Alicia Jo                                                                                                       Case No.
Debtor(s)                                                                                                               Chapter         7


                                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                            $1,000.00
            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                              $1,000.00
            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 $0.00

2.   The source of the compensation to be paid to me was:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
3.   The source of compensation to be paid to me is:
            ✔ Debtor
            ❑                                          ❑ Other (specify)
4.   ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates
     ❑
     of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates
     of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
          bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                             CERTIFICATION

                           I certify that the foregoing is a complete statement of any agreement or arrangement for
                         payment to me for representation of the debtor(s) in this bankruptcy proceeding.

                         01/14/2021                                       /s/ Alexander Hait
                         Date                                                  Signature of Attorney
                                                                                                                               Alexander Hait
                                                                                                                                  Hait & Kuhn
                                                                                                                           185 Stockwood Dr
                                                                                                                        Woodstock, GA 30188
                                                                                                                        Phone: (770) 517-0045

                                                                          Hait & Kuhn
                                                                              Name of law firm
                  Case 21-50335-wlh                     Doc 1     Filed 01/14/21 Entered 01/14/21  09:53:10 Desc Main
                                                                                              Check one box only as directed in this form and in Form
 Fill in this information to identify your case:
                                                                  Document Page 59 of 67      122A-1Supp:
  Debtor 1                   Alicia
                             First Name
                                                   Jo
                                                   Middle Name
                                                                        Reider
                                                                        Last Name
                                                                                                                     ✔1. There is no presumption of abuse.
                                                                                                                     ❑
  Debtor 2                                                                                                           ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)                                                                                                   abuse applies will be made under Chapter 7 Means
                             First Name            Middle Name          Last Name
                                                                                                                        Test Calculation (Official Form 122A-2).

                                                                                                                     ❑3. The Means Test does not apply now because of
  United States Bankruptcy Court for the:                        Northern District of Georgia

  Case number                                                                                                            qualified military service but it could apply later.
  (if known)
                                                                                                                     ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ✔ Not married. Fill out Column A, lines 2-11.
      ❑
      ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ❑ Married and your spouse is NOT filing with you. You and your spouse are:
         ❑Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
  6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
  the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A                 Column B
                                                                                                               Debtor 1                 Debtor 2 or
                                                                                                                                        non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all payroll
    deductions).                                                                                                            $0.00

 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B is
    filled in.                                                                                                              $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from an unmarried partner,
    members of your household, your dependents, parents, and roommates. Include regular
    contributions from a spouse only if Column B is not filled in. Do not include payments you listed on
    line 3.                                                                                                                 $0.00

 5. Net income from operating a business, profession,
                                                                        Debtor 1        Debtor 2
    or farm
      Gross receipts (before all deductions)                                $0.00

      Ordinary and necessary operating expenses                     -       $0.00   -
                                                                                                   Copy
                                                                           $0.00
      Net monthly income from a business, profession, or farm                                      here
                                                                                                   →                        $0.00

 6. Net income from rental and other real property                      Debtor 1        Debtor 2
      Gross receipts (before all deductions)                                $0.00

      Ordinary and necessary operating expenses                     -       $0.00   -
                                                                                                   Copy
                                                                           $0.00
      Net monthly income from rental or other real property                                        here
                                                                                                   →                        $0.00

 7. Interest, dividends, and royalties                                                                                      $0.00

 Official Form 122A-1                                              Chapter 7 Statement of Your Current Monthly Income                                                       page 1
Debtor 1
                     Case   21-50335-wlh
                       Alicia        Jo
                                                                            Doc 1               Filed
                                                                                                 Reider
                                                                                                        01/14/21 Entered 01/14/21  09:53:10 Desc Main
                                                                                                                                Case number (if known)
                            First Name                         Middle Name
                                                                                                Document
                                                                                                  Last Name
                                                                                                               Page 60 of 67
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation                                                                                                                      $512.67
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................                 $883.33
           For your spouse......................................................................

       9. Pension or retirement income. Do not include any amount received that was a benefit                                                               $0.00
          under the Social Security Act. Also, except as stated in the next sentence, do not include
          any compensation, pension, pay, annuity, or allowance paid by the United States
          Government in connection with a disability, combat-related injury or disability, or death of a
          member of the uniformed services. If you received any retired pay paid under chapter 61 of
          title 10, then include that pay only to the extent that it does not exceed the amount of retired
          pay to which you would otherwise be entitled if retired under any provision of title 10 other
          than chapter 61 of that title.
      10. Income from all other sources not listed above. Specify the source and amount. Do
          not include any benefits received under the Social Security Act; payments made under
          the Federal law relating to the national emergency declared by the President under the
          National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
          disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
          against humanity, or international or domestic terrorism; or compensation, pension, pay,
          annuity, or allowance paid by the United States Government in connection with a
          disability, combat-related injury or disability, or death of a member of the uniformed
          services. If necessary, list other sources on a separate page and put the total below




     Total amounts from separate pages, if any.                                                                                         +                                   +
                                                                                                                                                        $512.67             +                  =        $512.67
       11. Calculate your total current monthly income. Add lines 2 through 10 for each
           column. Then add the total for Column A to the total for Column B.                                                                                                                       Total current
                                                                                                                                                                                                   monthly income

 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →           $512.67

             Multiply by 12 (the number of months in a year).                                                                                                                                      X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.          $6,152.04

13. Calculate the median family income that applies to you. Follow these steps:
    Fill in the state in which you live.                                                 Georgia

    Fill in the number of people in your household.                                    2

    Fill in the median family income for your state and size of household....................................................................................................           13.         $67,463.00
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?
        ✔Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
   14a. ❑
          Go to Part 3. Do NOT fill out or file Official Form 122A-2.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.




Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                          page 2
Debtor 1
               Case   21-50335-wlh
                 Alicia        Jo
                                                     Doc 1         Filed
                                                                    Reider
                                                                           01/14/21 Entered 01/14/21  09:53:10 Desc Main
                                                                                                   Case number (if known)
                     First Name              Middle Name
                                                                   Document
                                                                     Last Name
                                                                                  Page 61 of 67
Part 3: Sign Below

    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

   ✘ /s/ Alicia Jo Reider
       Signature of Debtor 1

       Date 01/14/2021
              MM/ DD/ YYYY

    If you checked line 14a, do NOT fill out or file Form 122A–2.
    If you checked line 14b, fill out Form 122A–2 and file it with this form.




Official Form 122A-1                                               Chapter 7 Statement of Your Current Monthly Income                        page 3
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                                                     IN THE UNITED STATES BANKRUPTCY COURT
                                                          NORTHERN DISTRICT OF GEORGIA
                                                                 ATLANTA DIVISION

IN RE: Reider, Alicia Jo                                                                     CASE NO

                                                                                             CHAPTER 7




                                                      VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       01/14/2021              Signature                                     /s/ Alicia Jo Reider
                                                                                Alicia Jo Reider, Debtor
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Aldridge Pite Haan, LLP                  Atlanta Gastroenterology            Bank of America
PO Box 52815                             Associates                          Po Box 982238
Atlanta, GA 30305                        PO Box 537019                       El Paso, TX 79998
                                         Atlanta, GA 30353



BB&T                                     Chase Card Services                 Citibank/The Home Depot
Credit Card Disputes                     Po Box 15298                        Po Box 6497
Wilson, NC 27894                         Wilmington, DE 19850                Sioux Falls, SD 57117




Comenity Bank/Victoria                   Concord Svc                         Credit First National
Secret                                   6701 W Hwy 89a                      Association
Attn: Bankruptcy POB 182125              Sedona, AZ 86336                    Attn: Bankruptcy
Columbus, OH 43218                                                           PO Box 81315
                                                                             Cleveland, OH 44181-0315


Equiant/Thousand Trails                  Frost Arnett                        Georgia Department of
Attn: Bankruptcy Attn: Bankruptcy        Po Box 198988                       Revenue
400 N Juniper Dr , STE 100               Nashville, TN 37219                 Compliance Division
Chandler, AZ 85226                                                           ARCS - Bankruptcy
                                                                             1800 Century Blvd Ne # 9100
                                                                             Atlanta, GA 30345-3202


Harley Davidson Financial                Internal Revenue Service            Kohls/Capital One
Po Box 21829                             Centralized Insolvency Operation    N56 W 17000 Ridgewood Dr
Carson City, NV 89721                    Po Box 7346                         Menomonee Falls, WI 53051
                                         Philadelphia, PA 19101-7346



Laureate Medical Group at                Midland Fund                        Northside Radiology
Northside                                Attn: Bankruptcy 350 Camino De La   PO Box 102263
Bld 600/Embassy Row                      Reine Ste 100                       Atlanta, GA 30368
6600 Peachtree Dunwoody Rd Ste 325       San Diego, CA 92108
Atlanta, GA 30328


Portfolio Recovery                       Alicia Jo Reider                    Syncb/HH Gregg
120 Corporate Blvd Ste 1                 704 Victoria Court                  Attn: Bankruptcy
Norfolk, VA 23502                        Woodstock, GA 30189                 PO Box 965060
                                                                             Orlando, FL 32896-5060



Syncb/Suzuki Installment                 Synchrony Bank/ Old Navy            Synchrony Bank/Amazon
Attn: Bankruptcy                         Attn: Bankruptcy                    Po Box 965015
PO Box 530912                            PO Box 965060                       Orlando, FL 32896
Atlanta, GA 30353-0912                   Orlando, FL 32896



Synchrony Bank/Walmart                   Target                              Wells Fargo Dealer Services
Po Box 965024                            700 Target Parkway N                Po Box 1697
Orlando, FL 32896                        Minneapolis, MN 55445               Winterville, NC 28590
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                 Notice Required by 11 U.S.C. § 342(b) for
                 Individuals Filing for Bankruptcy (Form 2010)


                   This notice is for you if:                                            Chapter 7: Liquidation

                         You are an individual filing for                                                    $245      filing fee
                         bankruptcy, and                                                                         $78   administrative fee
                                                                                                    +            $15   trustee surcharge
                         Your debts are primarily consumer
                         debts.                                                                              $338      total fee
                         Consumer debts are defined in 11 U.S.C.
                         § 101(8) as “incurred by an individual                         Chapter 7 is for individuals who have
                         primarily for a personal, family, or                           financial difficulty preventing them from
                         household purpose.”                                            paying their debts and who are willing to
                                                                                        allow their non- exempt property to be used
                                                                                        to pay their creditors. The primary purpose
                                                                                        of filing under chapter 7 is to have your
                                                                                        debts discharged. The bankruptcy discharge
                 The types of bankruptcy that are                                       relieves you after bankruptcy from having to
                 available to individuals                                               pay many of your pre-bankruptcy debts.
                                                                                        Exceptions exist for particular debts, and
                 Individuals who meet the qualifications may file                       liens on property may still be enforced after
                 under one of four different chapters of the                            discharge. For example, a creditor may
                 Bankruptcy Code:                                                       have the right to foreclose a home
                                                                                        mortgage or repossess an automobile.
                         Chapter 7 — Liquidation
                                                                                        However, if the court finds that you have
                         Chapter 11— Reorganization                                     committed certain kinds of improper conduct
                                                                                        described in the Bankruptcy Code, the court
                         Chapter 12— Voluntary repayment plan                           may deny your discharge.
                                     for family farmers or
                                     fishermen                                          You should know that even if you file chapter 7
                                                                                        and you receive a discharge, some debts are
                         Chapter 13— Voluntary repayment plan                           not discharged under the law. Therefore, you
                                          for individuals with regular                  may still be responsible to pay:
                                          income
                                                                                                 most taxes;
                You should have an attorney review your                                          most student loans;
                 decision to file for bankruptcy and the choice                                  most domestic support and property
                 of                                                                              settlement obligations;
                 chapter.




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                                                                                        your income is more than the median income for
                         most fines, penalties, forfeitures, and
                                                                                        your state of residence and family size,
                         criminal restitution obligations; and                          depending on the results of the Means Test, the
                         certain debts that are not listed in your
                                                                                        U.S. trustee, bankruptcy administrator, or
                         bankruptcy papers.                                             creditors can file a motion to dismiss your case
                 You may also be required to pay debts arising                          under § 707(b) of the Bankruptcy Code. If a
                 from:                                                                  motion is filed, the court will decide if your case
                                                                                        should be dismissed. To avoid dismissal, you
                         fraud or theft;
                                                                                        may choose to proceed under another chapter of
                         fraud or defalcation while acting in breach
                                                                                        the Bankruptcy Code.
                         of fiduciary capacity;
                         intentional injuries that you inflicted; and
                                                                                        If you are an individual filing for chapter 7
                         death or personal injury caused by
                                                                                        bankruptcy, the trustee may sell your property
                         operating a motor vehicle, vessel, or
                                                                                        to pay your debts, subject to your right to
                         aircraft while intoxicated from alcohol or
                                                                                        exempt the property or a portion of the proceeds
                         drugs.
                                                                                        from the sale of the property. The property, and
                                                                                        the proceeds from property that your
                 If your debts are primarily consumer debts, the
                                                                                        bankruptcy trustee sells or liquidates that you
                 court can dismiss your chapter 7 case if it finds
                                                                                        are entitled to, is called exempt property.
                 that you have enough income to repay creditors
                                                                                        Exemptions may enable you to keep your home,
                 a certain amount. You must file Chapter 7
                                                                                        a car, clothing, and household items or to
                 Statement of Your Current Monthly Income
                                                                                        receive some of the proceeds if the property is
                 (Official Form 122A–1) if you are an individual
                                                                                        sold.
                 filing for bankruptcy under chapter 7. This form
                 will determine your current monthly income and
                                                                                        Exemptions are not automatic. To exempt
                 compare whether your income is more than the
                                                                                        property, you must list it on Schedule C: The
                 median income that applies in your state.
                                                                                        Property You Claim as Exempt (Official Form
                                                                                        106C). If you do not list the property, the
                 If your income is not above the median for your
                                                                                        trustee may sell it and pay all of the proceeds to
                 state, you will not have to complete the other
                                                                                        your creditors.
                 chapter 7 form, the Chapter 7 Means Test
                 Calculation (Official Form 122A–2).

                                                                                         Chapter 11: Reorganization
                 If your income is above the median for your
                 state, you must file a second form —the                                                    $1,167     filing fee
                 Chapter 7 Means Test Calculation (Official Form
                                                                                                   +            $571   administrative fee
                 122A–2). The calculations on the form—
                 sometimes called the Means Test —deduct from                                               $1,738     total fee
                 your income living expenses and payments on
                 certain debts to determine any amount available                        Chapter 11 is often used for reorganizing a
                 to pay unsecured creditors. If                                         business, but is also available to individuals. The
                                                                                        provisions of chapter 11 are too complicated to
                                                                                        summarize briefly.




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                   Read These Important Warnings

                       Because bankruptcy can have serious long-term financial and legal consequences, including
                       loss of your property, you should hire an attorney and carefully consider all of your options
                       before you file. Only an attorney can give you legal advice about what can happen as a result
                       of filing for bankruptcy and what your options are. If you do file for bankruptcy, an attorney
                       can help you fill out the forms properly and protect you, your family, your home, and your
                       possessions.

                       Although the law allows you to represent yourself in bankruptcy court, you should
                       understand that many people find it difficult to represent themselves successfully. The rules
                       are technical, and a mistake or inaction may harm you. If you file without an attorney, you are
                       still responsible for knowing and following all of the legal requirements.

                       You should not file for bankruptcy if you are not eligible to file or if you do not intend to file
                       the necessary documents.

                       Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud
                       in your bankruptcy case. Making a false statement, concealing property, or obtaining money
                       or property by fraud in connection with a bankruptcy case can result in fines up to $250,000,
                       or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                        Under chapter 13, you must file with the court a
                  Chapter 12: Repayment plan for
                  family                                                                plan to repay your creditors all or part of the
                             farmers or fishermen                                       money that you owe them, usually using your
                                                                                        future earnings. If the court approves your plan,
                                      $200     filing fee                               the court will allow you to repay your debts, as
                             +          $78    administrative fee                       adjusted by the plan, within 3 years or 5 years,
                                                                                        depending on your income and other factors.
                                      $278     total fee
                                                                                        After you make all the payments under your
                 Similar to chapter 13, chapter 12 permits family                       plan, many of your debts are discharged. The
                 farmers and fishermen to repay their debts over                        debts that are not discharged and that you may
                 a period of time using future earnings and to                          still be responsible to pay include:
                 discharge some debts that are not paid.
                                                                                                 domestic support obligations,
                                                                                                 most student loans,
                  Chapter 13: Repayment plan for                                                 certain taxes,
                             individuals with regular                                            debts for fraud or theft,
                             income                                                              debts for fraud or defalcation while acting
                                                                                                 in a fiduciary capacity,
                                      $235     filing fee                                        most criminal fines and restitution
                             +          $78    administrative fee                                obligations,
                                                                                                 certain debts that are not listed in your
                                      $313     total fee
                                                                                                 bankruptcy papers,
                                                                                                 certain debts for acts that caused death
                 Chapter 13 is for individuals who have regular
                                                                                                 or
                 income and would like to pay all or part of their
                                                                                                 personal injury, and
                 debts in installments over a period of time and
                                                                                                 certain long-term secured debts
                 to discharge some debts that are not paid. You
                 are eligible for chapter 13 only if your debts are
                 not more than certain dollar amounts set forth in
                 11 U.S.C. § 109.




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                   Warning: File Your Forms on Time                                              A married couple may file a bankruptcy
                                                                                                 case together—called ajoint case. If you
                   Section 521(a)(1) of the Bankruptcy Code                                      file a joint case and each spouse lists the
                   requires that you promptly file detailed                                      same mailing address on the bankruptcy
                   information about your creditors, assets,                                     petition, the bankruptcy court generally will
                   liabilities, income, expenses and general                                     mail you and your spouse one copy of
                   financial condition. The court may dismiss                                    each notice, unless you file a statement
                   your bankruptcy case if you do not file this                                  with the court asking that each spouse
                   information within the deadlines set by the                                   receive separate copies.
                   Bankruptcy Code, the Bankruptcy Rules,
                   and the local rules of the court.
                                                                                                 Understand which services you
                                                                                                 could receive from credit
                   For more information about the documents                                      counseling agencies
                   and their deadlines, go to:
                   http://www.uscourts.gov/bkforms                                               The law generally requires that you receive
                   /bankruptcy_form                                                              a credit counseling briefing from an
                   s.html#procedure.                                                             approved credit counseling agency. 11
                                                                                                 U.S.C. § 109(h). If you are filing a joint
                                                                                                 case, both spouses must receive the
                 Bankruptcy crimes have serious                                                  briefing. With limited exceptions, you must
                 consequences
                                                                                                 receive it within the 180 days before you
                         If you knowingly and fraudulently                                       file your bankruptcy petition. This briefing
                         conceal                                                                 is usually conducted by telephone or on
                         assets or make a false oath or statement                                the Internet.
                         under penalty of perjury—either orally or
                         in writing—in connection with a                                         In addition, after filing a bankruptcy case,
                         bankruptcy case, you may be fined,                                      you generally must complete a financial
                         imprisoned, or both.                                                    management instructional course before
                         All information you supply in connection                                you can receive a discharge. If you are
                         with a bankruptcy case is subject to                                    filing a joint case, both spouses must
                         examination by the Attorney General                                     complete the course.
                         acting
                         through the Office of the U.S. Trustee,                                 You can obtain the list of agencies
                         the                                                                     approved to provide both the briefing and
                         Office of the U.S. Attorney, and other                                  the instructional course from:
                         offices and employees of the U.S.                                       http://justice.gov/ust/eo/hapcpa
                         Department of Justice.                                                  /ccde/cc_approved.html.


                 Make sure the court has your                                                    In Alabama and North Carolina, go to:
                 mailing address                                                                 http://www.uscourts.gov/FederalCourts
                                                                                                 /Bankruptcy/
                 The bankruptcy court sends notices to the                                       BankruptcyResources/ApprovedCredit
                 mailing address you list on Voluntary Petition for                              AndDebtCounselors.aspx.
                 Individuals Filing for Bankruptcy(Official Form
                 101). To ensure that you receive information                                    If you do not have access to a computer,
                 about your case, Bankruptcy Rule 4002 requires                                  the clerk of the bankruptcy court may be
                 that you notify the court of any changes in your                                able to help you obtain the list.
                 address.

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